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 9   Attorneys for Defendants
10                                UNITED STATES DISTRICT COURT
11                                    DISTRICT OF NEVADA
12   LAS VEGAS SUN, INC., a Nevada                  Case No.: 2:19-CV-01667-RFB-BNW
13   corporation,
                    Plaintiff,
14
     v.                                             DEFENDANTS NEWS+MEDIA CAPITAL
15                                                  GROUP LLC AND LAS VEGAS
     SHELDON ADELSON, an individual and
     as the alter ego of News+Media Capital         REVIEW-JOURNAL, INC.’S
16
     Group LLC and as the alter ego of Las          CERTIFICATE OF INTERESTED
17   Vegas Review Journal, Inc.; PATRICK            PARTIES PURSUANT TO FRCP 7.1 AND
     DUMONT, an individual; NEWS+MEDIA              LR 7.1-1
18   CAPITAL GROUP LLC, a Delaware
     limited liability company; LAS VEGAS
19
     REVIEW-JOURNAL, INC., a Delaware
20   corporation; and DOES, I-X, inclusive,
                    Defendants.
21

22

23          Defendants News+Media Capital Group LLC (“News+Media”) and Las Vegas Review-

24   Journal, Inc. (“Review-Journal” and with “News+Media” as “Defendants”), by and through their

25   counsel of record, pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Local Rule

26   7.1-1, disclose the following:

27   1.     Defendants are non-governmental, privately held corporate parties. Review-Journal is a

28   wholly owned subsidiary of News+Media, and News+Media is a wholly owned subsidiary of


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 1   Orchid Flower LLC. No publicly held corporation owns more than 10% of either Defendant’s

 2   stock.

 3   2.       The undersigned attorney of record for Defendants certifies that the following non-party

 4   may have a direct, pecuniary interest in the outcome of this case: Orchid Flower LLC.

 5            These representations are made to enable judges of the court to evaluate possible

 6   disqualifications or recusal.

 7            DATED November 1, 2019
                                                       KEMP, JONES & COULTHARD, LLP
 8
                                                       /s/ Michael Gayan
 9
                                                       J. RANDALL JONES, ESQ., SBN 1927
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17                                                     Attorney for Defendants

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 1                                         PROOF OF SERVICE

 2           I hereby certify that on the 1st day of November, 2019, I served a true and correct copy of

 3   the foregoing DEFENDANTS NEWS+MEDIA CAPITAL GROUP LLC AND LAS VEGAS

 4   REVIEW-JOURNAL, INC.’S CERTIFICATE OF INTERESTED PARTIES PURSUANT

 5   TO FRCP 7.1 AND LR 7.1-1 via the United States District Court’s CM/ECF electronic filing

 6   system to all parties on the e-service list.

 7
                                                    /s/ Pamela Montgomery
 8                                                  An employee of Kemp, Jones & Coulthard, LLP
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